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                     UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS
                           AUSTIN DIVISION
Coalition for Independent Technology            §
Research                                        §    CIVIL NO:
                                                §    AU:23-CV-00783-RP
vs.                                             §
                                                §
Greg Abbott, Steven C. McCraw, Amanda
Crawford, Dale Richardson, Ashok Mago,
Laura Wright, Lindy Rydman, Carlos
Munguia, Mary Denny, Milton B. Lee, Melisa
Denis, Daniel Feehan, John Scott Jr., Michael
Williams

      ORDER SETTING PRELIMINARY INJUNCTION HEARING
       IT IS HEREBY ORDERED that the above entitled and numbered case is set for
PRELIMINARY INJUNCTION HEARING in Courtroom 4, on the Fifth Floor, United States
Courthouse, 501 West Fifth Street, Austin, TX, on Wednesday, November 15, 2023 at 01:30
PM. All parties, or counsel appearing on their behalf must appear at this hearing.

        IT IS SO ORDERED this 9th day of November, 2023.




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                                                ROBERT PITMAN
                                                UNITED STATES DISTRICT JUDGE
